                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES                                   )
                                                 )
                                                 )
                    v.                           )     No. 21-CR-00143
                                                 )
                                                 )
 VICTOR HILL,                                    )
                                                 )
            Defendant.                           )


 SHERIFF VICTOR HILL’S JOINT MOTION REQUESTING THE USE OF A
                     JURY QUESTIONNAIRE

      COMES NOW, Sheriff Victor Hill, by and through undersigned counsel

and files this Joint Motion for the Use of a Jury Questionnaire pursuant to Rule

24 of the Federal Rules of Criminal Procedure. In support thereof, Sheriff Hill

shows as follows:

                                          1.

       This case has received a fair amount of media coverage since its inception.

It is likely that some individuals in the potential juror pool will have prior

knowledge of the allegations and individuals associated with the case. The

ability to parse out those potential jurors so that they don’t taint the rest of the

pool will add to the fairness and efficiency of the voir dire process. Further, the

ability to receive information regarding the potential jurors’ opinions of certain
topics through the administration of a questionnaire will greatly help all parties

effectively and efficiently streamline and target their individual questions.

                                         2.


      Undersigned counsel has conferred with counsel for the government and

all parties are in agreement with this request for a questionnaire. The parties’

intent is to submit to the Court a joint questionnaire and indicate through

objections if there are any questions that either party would like to propose and

is not agreed upon by the opposing party.


                                         3.


      Sheriff Hill respectfully proposes the following jury selection procedure:


   1) that the Court allow the use of a jury questionnaire;

   2) that the Court bring the potential jurors in on Thursday, October 6, 2022,

      provide them the proposed jury questionnaire, have them complete the

      document and return the questionnaire to the Court;

   3) permit the parties to receive un-redacted versions of the questionnaires

      under seal as soon as practicable, so that the parties may review them; and

   4) have the potential jurors return to the Court on the first day of jury

      selection, Wednesday, October 12, 2022 and allow the parties to conduct

      follow-up questioning of the jurors as necessary.


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                                  CONCLUSION

      Sheriff Hill respectfully requests that the Court grant this Joint Motion and

permit the use of a jury questionnaire to the prospective jurors in this case.



This 30th day of August, 2022.                Respectfully submitted,


                                              By:/s/Marissa Goldberg
                                                 Marissa Goldberg

Drew Findling
Ga. Bar No. 260425
Marissa Goldberg
Ga. Bar No. 672798
The Findling Firm
3490 Piedmont Road NE, Suite 600
Atlanta, GA 30305
Telephone (404) 460-4500
Email: drew@findlinglawfirm.com
marissa@findlinglawfirm.com


Lynsey M. Barron
Ga. Bar No. 661005
BARRON LAW LLC
3104 Briarcliff Rd.
P.O. Box 29964
Atlanta, GA 30359
Telephone: (404) 276-3261
Email: lynsey@barron.law




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                          CERTIFICATE OF SERVICE

       I hereby certify that on the below date I electronically filed the foregoing
Joint Motion for the Use of a Jury Questionnaire with the Clerk of Court using
CM/ECF system which will automatically send email notification of such filing to
the to the following attorneys of record:

                   Brent Gray, AUSA
                   Bret Hobson, AUSA
                   U.S. Attorney’s Office
                   600 Courthouse
                   75 Ted Turner Drive SW
                   Atlanta, GA 30303


      This 30th day of August, 2022

                                        /s/ Marissa Goldberg
                                        By: Marissa Goldberg
                                            Ga. Bar No. 672798

                                        Attorney for Sheriff Victor Hill
